                    Case 1:23-cv-10511-WGY Document 328 Filed 10/30/23 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                   District District
                                               __________   of Massachusetts
                                                                     of __________


              United States of America, et al                   )
                             Plaintiff                          )
                                v.                              )      Case No. 1:23-cv-10511-WGY
                JetBlue Airways Corp. et. al                    )
                            Defendant                           )

                                                APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         State of California                                                                                           .


Date:          10/30/2023                                                                /s/ Robert McNary
                                                                                         Attorney’s signature


                                                                               Robert McNary (CA Bar No. 253745)
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